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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                  Atlanta Division

D. H. PACE COMPANY, INC.,

        Plaintiff,

v.                                             Civil Action No.1:22-CV-01005-
                                               SEG
MATTHEW JOHNSON and LIBERTY
GARAGE DOOR SERVICES, LLC,

        Defendants.


     PLAINTIFF D.H. PACE COMPANY, INC.’S RESPONSE IN OPPOSITION
        TO DEFENDANTS’ MOTION FOR CONSOLIDATED HEARING

         Plaintiff D. H. Pace Company, Inc. files this Response in Opposition to

 Defendants’ Motion for Consolidated Hearing (ECF No. 77), showing the Court as

 follows:

         Defendants appear to raise two issues in their Motion. First, Defendants ask

 the Court to hear “their prior-filed, pending and fully brief Motion for Injunctive

 Relief” (ECF No. 16) at the July 25, 2022 hearing. But the issues raised in that

 motion are moot. As Defendants admit, their motion does not provide any new

 substantive analysis or arguments. Instead, the motion simply incorporates the




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arguments that Defendants raised in their Memorandum in Opposition to Plaintiff’s

Motion for Temporary Restraining Order (ECF No. 13).1

      On June 3, 2022, this Court granted, in part, Plaintiff’s Motion for Temporary

Restraining Order. (ECF No. 57). In doing so, the Court upheld both (a modified

version of) the non-compete restrictive covenant and the non-solicit restrictive

covenant as valid and enforceable. (ECF No. 57 at 16-31). The Court also held that

Plaintiff showed “a substantial likelihood of success on the merits of certain breach

of contract claims.” (ECF No. 57 at 16-32).2 These rulings resolved the arguments

raised in Defendant’s Memorandum in Opposition to Plaintiff’s Motion for

Temporary Restraining Order. Because Defendants’ Motion for Injunctive Relief

only incorporates by reference these same arguments, the Motion for Injunctive

Relief is moot. Thus, the Court should reject Defendants’ attempt to have the Motion

for Injunctive Relief heard at the July 25, 2022 hearing and should deny the motion

as moot.


1
  See ECF No. 16 (“Defendants’ grounds for this Motion are set forth in detail in
Defendants’ Memorandum in Opposition to Plaintiff’s Motion for Temporary
Restraining Order [Doc. 13] and exhibits [Docs. 13-1 – 13-12], and in Defendants’
Verified Answer, Affirmative Defenses and Counterclaims for Declaratory
Judgment, Injunctive Relief, and Attorneys’ Fees filed contemporaneously
herewith.”).
2
 The Court later clarified its Order on Plaintiff’s Motion for Temporary Restraining
Order, but this clarification did not affect the Court’s ruling that the non-compete
restrictive covenant, as modified, and the non-solicit restrictive covenant are valid
and enforceable. (ECF No. 76).
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      Second, Defendants appear to go beyond their “Motion for Consolidating

Hearing” by arguing that they “are entitled to injunctive relief enjoining Plaintiff

from, among other things, further prosecuting its claims related to the provisions this

Court has found facially overbroad and incapable of modification.” (ECF No. 77 at

2-3). It is unclear how this argument relates to “consolidating” the hearing. If

Defendants want to raise this issue, they should do so in a separate, more appropriate

motion.

      Regardless, Defendants’ cited cases do not support their position. To be sure,

none of the cases deal with an employee trying to secure injunctive relief against an

employer after the court upheld a modified version of a restrictive covenant. In fact,

most (if not all) of the cited cases involve employees seeking preemptive rulings on

the enforceability of restrictive covenants contained in their employment

agreements. And most of the cited cases pre-date the Georgia Restrictive Covenant

Act. Thus, at the time, Georgia courts could only strike down restrictive covenants,

not modify them.

      In any event, Defendants also fail to explain how such an injunction would

work or why it is necessary. The Court’s rulings on the validity and enforceability

of the restrictive covenants at issue are the law of the case. It is unclear why

Defendants believe that an injunction is necessary to follow the law of the case. Nor

is it clear as to what “claims” that Defendants believe cannot be prosecuted given

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the Court’s rulings on the validity and enforceability of the restrictive covenants.

This is especially true given that the Court has already held that there is a substantial

likelihood that Plaintiff will succeed on its claim for breach of contract related to the

contract that contains the restrictive covenants.

      For these reasons, the Court should deny Defendants’ Motion for

Consolidating Hearing.

      Respectfully submitted this 7th day of July, 2022.

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                       TYPE AND FONT CERTIFICATION
      The undersigned certifies that the foregoing complies with Local Rule 5.1(C)

regarding typefaces and fonts.

                                     s/Stephen T. LaBriola
                                     Stephen T. LaBriola




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                          CERTIFICATE OF SERVICE

      I certify that on this day, I caused this document to be electronically filed with

the Clerk of Court using the CM/ECF system which will automatically send email

notification to all attorneys of record.


      Respectfully submitted this 7th day of July, 2022.

                                  s/ Stephen T. LaBriola
                                     Stephen T. LaBriola




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